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                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

    DARREN FINDLING, Personal
    Representative of the Estate of Eli Oles,
    Deceased

                           Plaintiff,

    vs.                                                 Case No.
                                                        Hon.
    United States of America,
    Lakeland Immediate Care Center d/b/a
    Cassopolis Family Clinic,
    Lakeland Hospitals at Niles and St. Joseph, Inc.,
    d/b/a Lakeland Hospital Niles
    Kenneth W. Kaufmann, II MD
    Karen D. Zienert, MD
    Dawn Lamson, RN
    Kayla Lowery, RN
    Nancy Redman, RN
    Melissa Smith, RN

                            Defendants
    _________________________________________________________________________/
    MARC LIPTON (P43877)
    JOEL SANFIELD (P42968)
    STEFFANI CHOCRON (P45335)
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    _____________________________________________________________________________/

                                 COMPLAINT AND JURY DEMAND

           COMES NOW Plaintiff by and through counsel and for his complaint against these

    Defendants, states as follows:




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                                    PARTIES AND JURISDICTION

                                            INTRODUCTION

           1.      This is a combined FTCA and State law medical malpractice action against the

    Defendant United States under the Federal Tort Claims Act, (28 U.S.C. Section 2671, et seq.) and

    28 U.S.C. Section 1346(b)(1), for professional malpractice in connection with medical care

    provided to Cheyenne Bennett and her now deceased child, Eli Oles by physicians and nurses

    employed at Lakeland Immediate Care Center (d/b/a Cassopolis Family Clinic), a Federally

    Qualified Health Center, and then at Lakeland Hospitals at Niles and St. Joseph, Inc (d/b/a

    Lakeland Hospital Niles), both located in Niles, Michigan.

           2.      The claims herein brought against the Defendant United States of America,

    Lakeland Immediate Care Center (hereinafter Lakeland ICC), and Kenneth Kaufmann II and Dawn

    Lamson in their capacity as employees of Lakeland Immediate Care Center are pursuant to the

    Federal Tort Claims Act (28 U.S.C. Section 2671 et. Seq.) and 28 U.S.C. Section 1346(b)(1), for

    money damages as compensation for personal injuries caused by the Defendants’ negligence.

           3.      The claims herein brought against Lakeland Hospitals at Niles and St. Joseph, Inc.,

    (hereinafter Lakeland Hospitals), and Kenneth Kaufmann II, Dawn Lamson, Karen Zienert, Kayla

    Lowery, Nancy Redman and Melissa Smith, individually and in their capacity as employees or

    agents of Lakeland Hospitals, are brought pursuant to State law, with Plaintiff requesting this Court

    exercise supplemental jurisdiction over the State Law claims pursuant to 28 USC Section 1367, as

    the combined acts of malpractice arise out of a common set of operative facts, caused a single

    indivisible injury and death to Plaintiff’s child, and are so related to the FTCA claims, such that

    separation of these matters is impracticable, carries the risk of inconsistent judgments and would

    otherwise be a waste of judicial resources.




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            4.      Plaintiff’s Estate has fully complied with the provisions of 28 U.S.C. Section 2675

    of the Federal of the Federal Tort Claims Act.

            5.      Plaintiff’s Estate has further fully complied with the provisions of MCL 600.2912b,

    in that a notice of intent to file claim was sent to all parties.

            6.      This suit has been timely filed, in that Plaintiff’s Representative timely served

    notice of his claim on both the United States Department of Health and Human Services and all

    identified parties less than two years after the incident forming the basis of this suit.

            7.      Plaintiff’s Estate is now filing this Complaint pursuant to 28 U.S.C. Section

    2401(b), 2675(a) as more than six months have passed, and the Department of Health and Human

    Services has not responded to the Notice of Claim. Plaintiff is deeming the failure to respond as a

    final denial pursuant to 28 U.S.C. Section 2675(a).

            8.      Further, Plaintiff’s Estate is filing this Complaint in compliance with MCL

    600.2912b, as more than 182 days have passed since the notice of intent to file claim was sent to

    all parties.

                                    PARTIES AND JURISDICTION

            9.      Cheyenne Bennett and her child, Plaintiff’s decedent Eli Oles, at all times relevant

    were residents Three Oaks, Berrien County in the State of Michigan.

            10.     Defendant United States of America is liable for the errors, acts and omissions of

    Lakeland ICC a/k/a Cassopolis Family Clinic and Kenneth Kaufmann and Dawn Lamson, pursuant

    to 42 USC 233 (g)-(h), 42 USC 233(A) and 28 USC 2679(b).

            11.     Lakeland ICC a/k/a Cassopolis Family Clinic, at all relevant times, is and was a

    Federally Qualified Health Center, doing business in the city of Niles, Berrien County, Michigan,




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    and has serving as its registered agent, Mary Geegan Middleton, address 261 M-62 Cassopolis,

    Mi.

           12.     Kenneth Kaufmann, II MD, at relevant times, was a newly board-certified

    physician in the field of Obstetrics and Gynecology. Further, certain errors, acts and omissions

    complained of occurred while he was employed by, or the agent of, Lakeland ICC and acting

    during the course and within the scope of that employment or agency.

           13.     Dawn Lamson, RN, at relevant times, was a licensed professional Registered

    Nurse. Further, certain errors, acts and omissions complained of occurred while she was employed

    by, or the agent of, Lakeland ICC and acting during the course and within the scope of that

    employment or agency.

           14.     Lakeland Hospitals at Niles and St. Joseph, Inc. d/b/a Lakeland Hospital Niles, at

    all relevant times, is a Michigan Domestic Corporation, with its registered agent being Mary Ann

    Pater, and its registered office at 1234 Napier Ave., St. Joseph, Berrien County, Michigan.

           15.     Kenneth Kaufman, II and Dawn Lamsom, RN, at relevant times, committed certain

    errors, acts and omissions complained of while acting as employees or agents of Lakeland

    Hospitals and acting during the course and within the scope of that employment or agency.

           16.     Karen Zienert, MD at relevant times, was a board-certified physician in the field of

    Obstetrics and Gynecology. Further, certain errors, acts and omissions complained of occurred

    while she was employed by, or the agent of, Lakeland Hospitals and acting during the course and

    within the scope of that employment or agency.

           17.     Kayla Lowery at relevant times, was a licensed professional Registered Nurse.

    Further, certain errors, acts and omissions complained of occurred while she was employed by, or




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    the agent of, Lakeland Hospitals and acting during the course and within the scope of that

    employment or agency.

           18.     Nancy Redman at relevant times, was a licensed professional Registered Nurse.

    Further, certain errors, acts and omissions complained of occurred while he was employed by, or

    the agent of, Lakeland Hospitals and acting during the course and within the scope of that

    employment or agency.

           19.     Melissa Smith at relevant times, was a licensed professional Registered Nurse.

    Further, certain errors, acts and omissions complained of occurred while he was employed by, or

    the agent of, Lakeland Hospitals and acting during the course and within the scope of that

    employment or agency.

           20.     At all times relevant to this Complaint, both Lakeland ICC and Lakeland Hospitals,

    their employees and agents, including the individually named Defendants, held themselves out to

    the Plaintiff and his mother and eligible beneficiaries, as providers of high-quality health care

    services with the expertise necessary to maintain the health and safety of patients like the Plaintiff

    and his mother.

           21.     This Court has original subject matter jurisdiction based upon a Federal Question

    being raised under the constitution and laws of the United States, pursuant to 28 U.S. § 1331 as to

    claims against the United States of America, Lakeland ICC and Kenneth Kaufmann II and Dawn

    Lamson while they were acting during the course of, and within the scope of their employment or

    agency with Lakeland ICC.

           22.     This Court has supplemental jurisdiction, pursuant to 28 USC 1367, over the

    remaining Defendants – Lakeland Hospitals, Karen Zienert, Kayla Lowery, Nancy Redman and

    Melissa Smith – because their combined acts of malpractice arise out of a common set of operative




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    facts, caused a single indivisible injury and death to Plaintiff’s child, and are so related to the

    FTCA claims, such that separation of these matters is impracticable, carries the risk of inconsistent

    judgments and would otherwise be a waste of judicial resources.

            23.     The events or omissions giving rise to the Plaintiff’s claims happened in the Western

    District of Michigan and the above-named Defendants transact business and are subject to personal

    jurisdiction in this district. Accordingly, venue is proper in this district pursuant to 28 U.S.C. §

    1391.

            24.     Attached     hereto    are    Affidavits    of    Merit     of   Dr.    Scott   Serden,

    Obstetrician/Gynecologist (Exhibit A) and Jennifer Attkinson, Nurse (Exhibit B).

                                       GENERAL ALLEGATIONS

            25.     Plaintiff incorporates all prior allegations as if fully set forth herein.

            26.     On 4/10/18, Cheyenne Bennett, aged 20, presented for her initial obstetrics

    evaluation at Lakeland ICC, d/b/a Cassopolis Family Clinic. Dawn Lamson, RN, documented her

    obstetrical history.

            27.     Ms. Bennett was 20 weeks pregnant, and she had no complaints other than some

    constipation and she was taking Keflex for a urinary tract infection. Her weight on this date was

    157 lbs, (71.2kg) and her blood pressure was 102/76. She was taking vitamins as prescribed and

    was excited about the pregnancy.

            28.     On 4/16/18, Ms. Bennett was seen again at Cassopolis Family Clinic for a physical

    exam. She was assessed by Dawn Lamson, RN and Jennifer Zizzo, NP. Her blood pressure was

    106/70 and her weight on this visit was 160 lbs. Urine protein and glucose were negative. She was

    doing well and had no concerns other than constipation, for which she was self-managing.




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           29.     On 4/25/18, a fetal ultrasound showed a single live breech fetus, heart rate 153 and

    no abnormalities identified. Estimated due date was calculated as 8/28/18.

           30.     On 5/14/18, Ms. Bennett returned to Cassopolis Family Clinic for her 24 week

    obstetrics visit. She was assessed by Dawn Lamson, RN and Jennifer Zizzo, NP. Her weight on this

    date was 168 lbs, (76.2kg) and her blood pressure was 108/70. Urine protein and glucose were

    negative, and she had no edema. She noted good fetal movement, no contractions. She was feeling

    well and had no concerns. On this date, a fetal ultrasound revealed a single live cephalic fetus with

    a grossly normal lumbosacral spine, heart rate 152.

           31.     On 6/11/18, Ms. Bennett returned to Cassopolis Family Clinic for her 28 week

    obstetrics visit. She was assessed by Dawn Lamson, RN and Jennifer Zizzo, NP. Her weight on this

    date was 168 lbs, (76.2kg) and her blood pressure was 116/80. She noted good fetal movement, no

    contractions, no bleeding, no loss of fluids. There was trace protein noted in urine dip. Ms. Bennett

    reported feeling well overall, but she noted a few episodes of shortness of breath. She denied racing

    heart and anxiety. Her shortness of breath resolved after a short time and Ms. Zizzo instructed her

    to keep track if it happened again and update next visit.

           32.     On 7/02/18, Ms. Bennett returned to Cassopolis Family Clinic for her 31 week

    obstetrics visit. She was assessed by Dawn Lamson, RN and Jennifer Zizzo, NP. Her weight on this

    date was 191 lbs, (86.6kg) and her blood pressure was 126/86. Her urine dip showed 1+ protein.

    She reported good fetal movement, no contractions, no bleeding, no loss of fluids. No edema was

    noted. Ms. Bennett reported she was no longer short of breath. Ms. Zizzo noted “Suspect error in

    weight−will recheck,” however there is not another weight recorded during this visit.

           33.     On 7/23/18, Ms. Bennett returned to Cassopolis Family Clinic for her 34 week

    obstetrics visit. She was assessed by Dawn Lamson, RN and Jennifer Zizzo, NP. Her weight on this




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    date was 204 lbs, (92.5kg) and her blood pressure was 150/98. Her urine dip showed 3+ protein and

    negative glucose, urinalysis showed protein > 600. She had +2 edema. She reported good fetal

    movement, no contractions, no bleeding, no loss of fluids. Dawn Lamson, RN noted that Ms.

    Bennett complained of a headache, “this is normal for her,” but “maybe getting more often now.”

    Ms. Zizzo noted that she called “Dr. KK” (presumably Kenneth Kaufmann) and she noted that Ms.

    Bennett would “go now to OB for Pre-E [pre-eclampsia] work up.” Lastly, Ms. Zizzo noted “Dawn

    RN walked patient to OB.”

           34.     On 7/23/18 at 10:58AM, Ms. Bennett arrived at Lakeland Hospital Niles and was

    admitted to The Birth Place unit, the reason for the visit was noted as “Pre-eclampsia in third

    trimester,” the admission type was classified as urgent. Dr. Kenneth Kaufmann, MD was the

    admitting provider. An external fetal monitor was placed.

           35.     At 11:04AM, Melissa Smith, RN, noted that Dr. Kaufmann was in the room talking

    with Ms. Bennett. RN Smith stated that Ms. Bennett denied a current headache, but she reported

    frequent frontal headaches with this pregnancy that were relieved by Tylenol.

           36.     At 11:09, Ms. Bennett’s blood pressure was 162/99.

           37.     At 11:10-11:15, labs ordered by Dr. Kaufmann were collected and the results were

    significant for WBC = 12.5 (high), Hgb 11.6 (low), neutrophils 9.4 (high). Urinalysis showed

    protein > 300 (very high), protein urine random result was > 600. The Protein/Creatinine Ratio was

    not able to be calculated due to high urine protein. Rapid drug screen was negative.

           38.     At 11:19AM, Dr. Kaufmann ordered a peripheral IV, which was started in Ms.

    Bennett’s left hand by Melissa Smith, RN.

           39.     At 11:35, Ms. Bennett’s blood pressure was 159/91.

           40.     At 11:49, Ms. Bennett’s blood pressure was 153/88.




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           41.     At 11:58, Ms. Bennett’s blood pressure was 147/90.

           42.     At 12:05, Ms. Bennett’s blood pressure was 152/101.

           43.     At 12:15, Ms. Bennett’s blood pressure was 159/98.

           44.     At 12:25, Ms. Bennett’s blood pressure was 151/93.

           45.     At 12:35, Ms. Bennett’s blood pressure was 140/85.

           46.     At 13:00, Ms. Bennett’s blood pressure was 145/105.

           47.     At 13:31, Dr. Kaufmann entered a progress note. He noted that Ms. Bennett was

    “sent from clinic for elevated BP.” He noted she denied contractions, headache, visual disturbance,

    RUQ pain, or loss of fluid. Fetal heart tones were in the 140s with moderate variability, positive

    accelerations and no decelerations, category 1. Dr. Kaufmann’s progress note outlines a few of the

    blood pressure readings on 7/23/18: 159/98 at 12:15, 151/93 at 12:25, 140/85 at 12:35, 145/105 at

    13:00. Dr. Kaufmann’s assessment was pre-eclampsia without severe features (CBC, CMP within

    normal limits) and protein/creatinine ration was pending. Dr. Kaufmann’s note does not mention

    the positive elevated urine protein. His plan was for her to begin Labetalol 200mg bid and to follow

    up the next day for a second BMZ and again in 3 days in the clinic. Dr. Kaufmann noted to discharge

    Ms. Bennett home.

           48.     Dr. Kaufmann further noted that the CBC was within normal limits, but WBC =

    12.5 (high), Hgb 11.6 (low), and neutrophils 9.4 (high).

           49.     At 13:32, Dr. Kaufmann ordered betamethasone acetate-betamethasone sodium

    phosphate (BMZ) 12mg IM injection.

           50.     No antihypertensive medications were ordered or administered to Ms. Bennett while

    she was a patient in The Birth Place.

           51.     At 14:00, Ms. Bennett’s blood pressure was 140/97.




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             52.      At 14:02, Nancy Redman, RN administered the BMZ injection in Ms. Bennett’s left

     deltoid muscle.

             53.      At 14:10, Nancy Redman, RN removed Ms. Bennett’s IV.

             54.      At 14:13PM, Nancy Redman, RN gave discharge instructions to Ms. Bennett

     regarding signs and symptoms of pre-eclampsia and need to return the next day for the second BMZ

     injection.

             55.      At 14:30, Nancy Redman, RN noted that Ms. Bennett ambulated off the floor in

     stable condition.

             56.      On 7/24/18 at 15:45, Ms. Bennett arrived back at The Birth Place to receive the

     second BMZ injection. Karen Zienert, MD was the admitting physician. The admitting diagnosis

     was gestational hypertension without significant proteinuria, third trimester.

             57.      At 15:47, Ms. Bennett’s blood pressure was 172/88.

             58.      At 15:54, Dr. Zienert ordered BMZ 12mg once IM injection.

             59.      At 15:54, Kayla Lowery, RN administered BMZ 12mg IM injection.

             60.      At 15:55, Ms. Bennett’s blood pressure was 152/102.

             61.      At 16:00, Ms. Bennett’s blood pressure was 157/99.

             62.      At 16:05, Ms. Bennett’s blood pressure was 161/95.

             63.      At 16:11, urinalysis showed protein > 300.

             64.      At 16:15, Kayla Lowery, RN entered a progress note that stated “Pt here for second

     Beta shot. Was in yesterday for hypertension issues. BP's are still elevated today, and urine still has

     Protein in it. Patient has NOT started her Labetalol yet. Is picking up script after they leave. Denies

     any PIH symptoms. Reinforced how important it is she starts it. Has appt Thursday. MD ok sending

     patient home.”




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            65.       No antihypertensive medications were ordered or administered to Ms. Bennett while

     she was a patient in The Birth Place.

            66.       At 16:24, Ms. Bennett was discharged home.

            67.       At 17:25, Dr. Zienert signed a discharge order with the diagnosis “PIN, without

     preeclampsia.”

            68.       Despite her persistent and severely elevated blood pressure and proteinuria, Ms.

     Bennett was not emergently admitted to the hospital for inpatient management of pre-eclampsia.

            69.       On 7/26/18, Ms. Bennett presented to the Cassopolis Family Clinic for follow up

     with Dr. Kaufmann. Pregnancy was at 35 week. On this date, urine dip protein result was 4+,

     urinalysis showed protein > 300. Dawn Lamson, RN noted that Ms. Bennett’s blood pressure was

     152/96. She had +2 edema. RN Lamson instructed Ms. Bennett to “take Labetalol 2 tablets twice

     per day (400mg twice per day).”

            70.       A progress note entered by Dr. Kaufmann noted that Ms. Bennett had no complaints,

     denied contractions, loss of fluid, vaginal bleeding, vision changes, headache, or RUQ changes. Dr.

     Kaufmann reviewed labor and premature rupture of membrane precautions. He increased Labetalol

     to 400mg bid. Ms. Bennett was given a 24-hour urine collection jug. He noted that she should return

     to the clinic on 7/30 for NST (nonstress test) and blood pressure check.

            71.       Despite her persistent and severely elevated blood pressure, proteinuria, and +2

     edema, Ms. Bennett was not emergently admitted to the hospital for inpatient management of pre-

     eclampsia.

            72.       On 7/27/18 at 23:00, Ms. Bennett arrived at Lakeland Medical Center via ambulance

     with seizures. According to the Emergency Department record authored by Dr. Joseph Longobardi,

     DO, “Patient found on the floor actively seizing by her boyfriend. Patient still seizing when EMS




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     arrived. 2g of mag were given by EMS with cessation of seizure in route. Patient postictal on arrival.

     GCS 6. Snoring respirations. Decision made to intubate the patient. Induction with ketamine and

     vecuronium…Patient's blood pressure in the 170 systolic upon presentation, additional grams of

     mag for 6 g total given as a bolus. 2 gram/hr infusion started. Patient's blood pressure responded

     Was in the 120s systolic after bolus of mag. Bedside ultrasound demonstrated no fetal heart rate or

     fetal movement.” She’d been incontinent of urine and stool. Her WBC count was 32.7, neutrophils

     26.5, LDH 540. The diagnosis was eclampsia.

            73.     After she was stabilized, Ms. Bennett was taken to the OR for a cesarean section

     with Dr. Ashley Dupuis, DO. In the operative report, Dr. Dupuis described “delivery of a non-viable

     male neonate in the cephalic presentation with fetal death pronounced per Dr. Anderson

     (Pediatrician). Weight: pending at this time. No gross fetal abnormalities of the baby or placenta

     were noted.” Post-op, Ms. Bennett was transferred to the ICU for further management. Just prior to

     her discharge on 7/31/18, Ms. Bennett was able to hold her baby, Eli Oles, before he was taken to

     the funeral home.

            74.     As a direct and proximate result of the events outlined herein, which constitute

     professional negligence for the reasons set forth below, Plaintiff’s decedent expired. His estate

     incurred medical, hospital, funeral and burial expenses during the effort to treat him and thereafter,

     and his Estate incurred a substantial loss of earning capacity due to his demise. Further, he suffered

     conscious pain and suffering, and his survivors suffered the loss of his financial support and the

     loss of his society and companionship, and other damages under the circumstances.

       CAUSE OF ACTION FOR MEDICAL MALPRACTICE PURSUANT TO THE FTCA

            75.     Plaintiff incorporates all prior allegations as if fully set forth herein.




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            76.     The Defendant USA, as the real party in interest for Lakeland ICC, Kenneth

     Kaufman II and Dawn Lamson, had a duty to provide ordinary care, and to exercise that standard

     and degree of care and skill required of health care providers, consistent with the expertise that the

     Defendant presented to the community at large.

            77.     The Standard of Care applicable to Kenneth W. Kaufmann, II MD and his

     employers, the USA and Lakeland Immediate Care Center d/b/a Cassopolis Family Clinic , as well

     as their successors, employees, agents and ostensible agents, in July 2018, was to:

            A. Exercise that degree of reasonable medical judgment and provide appropriate medical
               care that a reasonable obstetrician-gynecologist would under the same or similar
               circumstances;
            B. Recognize and document a diagnosis of preeclampsia with severe features when the
               systolic blood pressure is ≥ 160 mm Hg or the diastolic blood pressure is ≥ 110, with
               or without signs and symptoms of significant end-organ dysfunction;
            C. Recognize that pre-eclampsia with severe features is a medical emergency and if not
               treated promptly can result in serious adverse complications, including seizures and
               fetal demise;
            D. Perform and document a thorough and focused physical exam in a patient with known
               or suspected pre-eclampsia, including but not limited to evaluating for the presence or
               absence of clonus, auscultating lung sounds, checking oxygen saturation, and
               performing a pain assessment;
            E. Refrain from discharging a patient from a clinic or hospital setting when she is
               displaying signs of pre-eclampsia with severe features;
            F. Immediately admit a patient to the hospital when she is displaying signs of pre-
               eclampsia with severe features;
            G. Recognize that pre-eclampsia with severe features is an indication for delivery at ≥ 34
               weeks of gestation after maternal stabilization;
            H. Recognize that in preeclampsia with severe features, seizure prophylaxis and
               immediate reduction of blood pressure with intravenous medications are indicated;
            I. Assess and document the patient’s risk factors for complications, especially the risk of
               seizures and fetal demise, in a patient with pre-eclampsia with severe features;
            J. Accept responsibility for all errors, acts and omissions with regard to the improper care
               and resultant harms imposed upon claimant;
            K. Other standards as shall be revealed in discovery.

            78.     The Standard of Care applicable to Dawn Lamson, RN, as a reasonable and prudent

     licensed and practicing registered nurse, when presented with a patient exhibiting signs and

     symptoms such as those demonstrated by Cheyenne Bennett, and the USA, Lakeland Immediate



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     Care Center d/b/a Cassopolis Family Clinic as well as their successors, employees, agents and

     ostensible agents, in July 2018, was to:

        A. Exercise that degree of reasonable clinical judgment and provide appropriate medical care
           that a reasonable nurse would under the same or similar circumstances;
        B. Recognize and immediately report signs and symptoms of preeclampsia with severe
           features, including a systolic blood pressure ≥ 160 mm Hg or diastolic blood pressure ≥
           110, with or without signs and symptoms of significant end-organ dysfunction;
        C. Recognize that pre-eclampsia with severe features is a medical emergency and if not treated
           promptly can result in serious adverse complications, including seizures and fetal demise;
        D. Perform and document a thorough and focused physical exam in a patient with known or
           suspected pre-eclampsia, including but not limited to evaluating for the presence or absence
           of clonus, auscultating lung sounds, checking oxygen saturation, and performing a pain
           assessment;
        E. Thoroughly assess and document the patient’s risk factors for complications of pre-
           eclampsia with severe features, including the risk of seizure and fetal demise, when a
           patient presents with severe hypertension, edema of the lower extremities, and proteinuria;
        F. Advocate for the safety and overall wellbeing of a patient with pre-eclampsia with severe
           features by requesting immediate admission to an acute care setting rather than discharging
           the patient home;
        G. Recognize that pre-eclampsia with severe features is an indication for delivery at ≥ 34
           weeks of gestation after maternal stabilization;
        H. Recognize that in preeclampsia with severe features, seizure prophylaxis and immediate
           reduction of blood pressure with intravenous medications are indicated;
        I. Accept responsibility for all errors, acts and omissions with regard to the improper care
           and resultant harms imposed upon claimant;
        J. Other standards as shall be revealed in discovery.

            79.     With regards to the care and treatment rendered to Cheyenne Bennet and Eli

     Oles, Kenneth Kaufmann II, Dawn Lamson, the USA, Lakeland ICC and their successors,

     employers, employees, agents and ostensible agents, breached the applicable standards of care.

            80.     As a direct and proximate result of the violations of the standards of care referenced

     above, Defendants USA, Lakeland ICC, Kaufmann and Ramson did not provide Cheyenne Bennett

     or Eli Oles appropriate treatment or arrange for emergent interventions, resulting in the progression

     of Cheyenne Bennett’s preeclampsia and the neurologic injury and ultimate death of Plaintiff’s

     decedent Eli Oles.




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         CAUSE OF ACTION FOR MEDICAL MALPRACTICE AS TO THE STATE
      DEFENDANTS PURSUANT TO THIS COURTS SUPPLEMENTAL JURISIDICTION

            81.     Plaintiff incorporates all prior allegations as if fully set forth herein.

            82.     Defendant Lakeland Hospitals, Kenneth Kaufman II and Dawn Lamson, Karen

     Zienert, Kayla Lowery, Nancy Redman and Melissa Smith had a duty to provide ordinary care,

     and to exercise that standard and degree of care and skill required of health care providers,

     consistent with the expertise that the Defendant presented to the community at large.

            83.     The Standard of Care applicable to Kenneth W. Kaufmann, II MD, Karen Zienert

     and their employers, Lakeland Hospitals, as well as their successors, employees, agents and

     ostensible agents, in July 2018, was to:

            A. Exercise that degree of reasonable medical judgment and provide appropriate medical
               care that a reasonable obstetrician-gynecologist would under the same or similar
               circumstances;
            B. Recognize and document a diagnosis of preeclampsia with severe features when the
               systolic blood pressure is ≥ 160 mm Hg or the diastolic blood pressure is ≥ 110, with
               or without signs and symptoms of significant end-organ dysfunction;
            C. Recognize that pre-eclampsia with severe features is a medical emergency and if not
               treated promptly can result in serious adverse complications, including seizures and
               fetal demise;
            D. Perform and document a thorough and focused physical exam in a patient with known
               or suspected pre-eclampsia, including but not limited to evaluating for the presence or
               absence of clonus, auscultating lung sounds, checking oxygen saturation, and
               performing a pain assessment;
            E. Refrain from discharging a patient from a clinic or hospital setting when she is
               displaying signs of pre-eclampsia with severe features;
            F. Immediately admit a patient to the hospital when she is displaying signs of pre-
               eclampsia with severe features;
            G. Recognize that pre-eclampsia with severe features is an indication for delivery at ≥ 34
               weeks of gestation after maternal stabilization;
            H. Recognize that in preeclampsia with severe features, seizure prophylaxis and
               immediate reduction of blood pressure with intravenous medications are indicated;
            I. Assess and document the patient’s risk factors for complications, especially the risk of
               seizures and fetal demise, in a patient with pre-eclampsia with severe features;
            J. Accept responsibility for all errors, acts and omissions with regard to the improper care
               and resultant harms imposed upon claimant;
            K. Other standards as shall be revealed in discovery.




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            84.     The Standard of Care applicable to Dawn Lamson, RN, Kayla Lowery, RN, Nancy

     Redman, RN, and Melissa Smith, RN as a reasonable and prudent licensed and practicing

     registered nurse, when presented with a patient exhibiting signs and symptoms such as those

     demonstrated by Cheyenne Bennett, and Lakeland Hospitals as their successors, employers and

     principals in July 2018, was to:

        A. Exercise that degree of reasonable clinical judgment and provide appropriate medical care
           that a reasonable nurse would under the same or similar circumstances;
        B. Recognize and immediately report signs and symptoms of preeclampsia with severe
           features, including a systolic blood pressure ≥ 160 mm Hg or diastolic blood pressure ≥
           110, with or without signs and symptoms of significant end-organ dysfunction;
        C. Recognize that pre-eclampsia with severe features is a medical emergency and if not treated
           promptly can result in serious adverse complications, including seizures and fetal demise;
        D. Perform and document a thorough and focused physical exam in a patient with known or
           suspected pre-eclampsia, including but not limited to evaluating for the presence or absence
           of clonus, auscultating lung sounds, checking oxygen saturation, and performing a pain
           assessment;
        E. Thoroughly assess and document the patient’s risk factors for complications of pre-
           eclampsia with severe features, including the risk of seizure and fetal demise, when a
           patient presents with severe hypertension, edema of the lower extremities, and proteinuria;
        F. Advocate for the safety and overall wellbeing of a patient with pre-eclampsia with severe
           features by requesting immediate admission to an acute care setting rather than discharging
           the patient home;
        G. Recognize that pre-eclampsia with severe features is an indication for delivery at ≥ 34
           weeks of gestation after maternal stabilization;
        H. Recognize that in preeclampsia with severe features, seizure prophylaxis and immediate
           reduction of blood pressure with intravenous medications are indicated;
        I. Accept responsibility for all errors, acts and omissions with regard to the improper care
           and resultant harms imposed upon claimant;
        J. Other standards as shall be revealed in discovery.

            85.     With regards to the care and treatment rendered to Cheyenne Bennet and Eli

     Oles, Defendant Lakeland Hospitals, Kenneth Kaufman II and Dawn Lamson, Karen Zienert,

     Kayla Lowery, Nancy Redman and Melissa Smith and their successors, employers, employees,

     agents and ostensible agents, breached the applicable standards of care.

            86.     As a direct and proximate result of the violations of the standards of care referenced

     above, Defendants Lakeland Hospitals, Kenneth Kaufman II and Dawn Lamson, Karen Zienert,



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     Kayla Lowery, Nancy Redman and Melissa Smith did not provide Cheyenne Bennett or Eli Oles

     appropriate treatment or arrange for emergent interventions, resulting in the progression of

     Cheyenne Bennett’s preeclampsia and the neurologic injury and ultimate death of Plaintiff’s

     decedent Eli Oles.

            WHEREFORE Plaintiff requests the following relief;

            A. Compensatory non-economic and economic damages including but not limited to all
               damages recoverable under the laws of the United States and of the State of Michigan;

            B. Reasonable attorney fees, costs and interest;

            C. Such other and further relief as appears reasonable and just under the circumstances.

                                                   Respectfully submitted,


                                                   /S/ STEFFANI CHOCRON__________________
                                                   JOEL SANFIELD ((P42968)
                                                   STEFFANI CHOCRON (P45335)
                                                   MARC LIPTON (P43877)
                                                   Attorneys for Plaintiff
                                                   18930 W. Ten Mile Road, Ste. 3000
                                                   Southfield, MI 48075
      Dated: February 12, 2021                     (248) 557-1688

                                                Jury Demand

            Comes Now Plaintiff, by and through counsel, and hereby demands a trial by jury on this

     matter as to all claims, and against all Parties, as permitted by Law.

                                                   Respectfully submitted,


                                                   /S/ STEFFANI CHOCRON__________________
                                                   JOEL SANFIELD ((P42968)
                                                   STEFFANI CHOCRON (P45335)
                                                   MARC LIPTON (P43877)
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